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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: September 10, 2010
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
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17
          It is hereby stipulated by and between the United States of
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     America through its attorneys, and defendant Eric Brooks and his
19
     attorney, that the status conference hearing set for July 23, 2010,
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     be vacated, and a status conference hearing be set for September 10,
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     2010 at 9:00 a.m.
22
          Mr. Brooks has entered a guilty plea in case no. CR S 08-122
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     GEB, which is pending before this Court.        Today, the United States
24
     filed a stipulation requesting that the hearing on Judgment and
25
     Sentence in case no. CR S 08-122 be continued to September 10, 2010.
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     It is anticipated that, pursuant to the terms of the parties’ plea
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     agreement, the present case will be dismissed against Mr. Brooks at
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     sentencing.

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1    The parties request that speedy trial time be excluded from the date
2    of this order through the date of the status conference hearing set
3    for September 10, 2010, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv)
4    [reasonable time to prepare] (Local Code T4).
5
     DATED: July 20, 2010                  /s/ Philip Ferrari for
6                                         DWIGHT SAMUEL, ESQ.
                                          Attny. for Eric Brooks
7
8    DATED: July 20, 2010                 BENJAMIN B. WAGNER
                                          United States Attorney
9
10
                                     By: /s/ Philip Ferrari
11                                       PHILIP A. FERRARI
                                         Assistant U.S. Attorney
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13
14        IT IS SO ORDERED.
15
     Dated:     July 21, 2010
16
17
                                        GARLAND E. BURRELL, JR.
18                                      United States District Judge

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